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                                                                  \G\NAL
 Approved:
             EMIL J. BOVE III
             Assistant United
                                                                OGG# __
 Before:     HONORABLE KATHARINE H. PARKER
             united states Magistrate Jud?'I
             Southern District of New York.l.
                                                    7 MAiG 4151
                                                           ~

                                -----X

 UNITED STATES OF AMERICA                         SEALED COMPLAINT

           - v.       -                           Violations of
                                                  18 U.S.C. §§ 2339B,
 ALI KOURANI      I
                                                  2339D, 924 (o), 1425 (a);
      a / k / a "Ali Mohamad Kourani,"            50 u.s.c. § 1705(a)
      a / k / a "Jacob Lewis,"
      a / k / a "Daniel,"                         COUNTIES OF OFFENSE:
                                                  NEW YORK, BRONX
                              Defendant.
                                    - - - x

 STATE OF NEW YORK
                                           SS.:
 COUNTY OF NEW YORK

      JOSEPH T. COSTELLO, being duly sworn, deposes and says that
 he is a Special Agent at the Federal Bureau of Investigation
 ("FBI"), and charges as follows:

                                 COUNT ONE

               (Provision of Material Support to Hizballah,
              a Designated Foreign Terrorist Organization)

      1.   From at least in or about 2002, up to and including in
 or about September 2015, in the Southern District of New York,
 Lebanon, and elsewhere, and in an offense begun and committed
 outside of the jurisdiction of any particular State or district of
 the United States, ALI KOURANI, a / k / a "Ali Mohamad Kourani," a / k / a
 "Jacob Lewis," a / k / a "Daniel," the defendant, who is expected to
 be first arrested in the Southern District of New York, knowingly
 did provide and attempt to provide, and aided and abetted the
 provision of, "material support or resources," as that term is
 defined in Title 18, United States Code, Section 2339A(b), to a
 foreign terrorist organization, to wit, Hizballah, which has been
 designated by the Secretary of State as a foreign terrorist
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organization since 1997, pursuant to Section 219 of .the Immigration
and Nationality Act ("INA"), and is currently designated as such
as of the date of the filing of this Complaint, including~ among
other things, personnel, knowing that Hizballah was a designated
foreign terrorist organization (as defined in Title 18, United
States Code, Section 2339B(g) (6)), that Hizballah engages and has
engaged in terrorist activity (as defined in section 212(a) (3) (B)
of the INA), and that Hizballah engages and has engaged in
terrorism (as defined in section 140(d) (2) of the Foreign Relations
Authorization Act, Fiscal Years 1988 and 1989).

 (Title 18, United States Code, Sections 2339B(a) (1), (d) (1) (A),
       (d) (1) (C) (d) (1) (D)
                   I            I  (d) (1) (E)  I(d) (1) (F)
                                                          I  (d) (2)  I


                             3 2 3 8 , and 2 . )

                                    COUNT TWO

       (Conspiracy to Provide Material Support to Hizballah,
           a Designated Foreign Terrorist Organization)

         2.   From at least in or about 2002, up to and including in
or about September 2015, in the Southern District of New York,
Lebanon, and elsewhere, ALI KOURANI, a / k / a "Ali Mohamad Kourani,"
a / k / a "Jacob Lewis, " a / k / a "Daniel, " the defendant, who is expected
to be first arrested in the Southern District of New York, and
others known and unknown,              knowingly did combine,       conspire,
confederate and agree together and with each other to provide
"material support or resources," as that term is defined in Title
18, United States Code, Section 2339A(b), to a foreign terrorist
organization, to wit, Hizballah, which has been designated by the
Secretary of State as a foreign terrorist organization since 1997,
pursuant to Section 219 of the INA, and is currently designated as
such as of the date of the filing of this Complaint.

     3.    It was a part and an object of the conspiracy that ALI
KOURANI, a / k / a "Ali Mohamad Kourani," a / k / a "Jacob Lewis," a / k / a
"Daniel," the defendant, and others known and unknown, would and
did agree to provide Hizballah with material support and resources,
including personnel, knowing that Hizballah was a designated
foreign terrorist organization (as defined in Title 18, United
States Code, Section 2339B(g) (6)), that Hizballah engages and has
engaged in terrorist activity (as defined in section 212(a) (3) (B)
of the INA), and that Hizballah engages and has engaged in
terrorism (as defined in section 140(d) (2) of the Foreign Relations
Authorization Act, Fiscal Years 1988 and 1989), in violation of
Title 18, United States Code, Section 2339B.


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          4.   In furtherance of the conspiracy and to ef feet the
 illegal object thereof, ALI KOURANI, a / k / a "Ali Mohamad Kourani,"
 a / k / a "Jacob Lewis," a / k / a "Daniel," the defendant, and others
 known and unknown, committed the overt acts set forth below, among
 others:

           a.   From at least in or about 2009, up to and including
 in or about September 2015, KOURANI conducted surveillance of U.S.
 military and intelligence outposts in New York City, as well as
 airports in New York City and another country, in support of
 anticipated terrorist attacks by Hizballah's        Islamic Jihad
 Organization.

           b.   In or about July 2011, KOURANI attended a military
 training camp in the vicinity of Birkat Jabrur, Lebanon, which was
 operated by Hizballah's Islamic Jihad Organization, where KOURANI
 was provided with military-tactics and weapons training.

  (Title 18, United States Code, Sections 2339B(a) (1), (d) (1) (A),
   ( d) ( 1 ) ( C ) , ( d) ( 1 ) ( D) , ( d) ( 1 ) ( E ) , ( d) ( 1 ) ( F ) , ( d) ( 2 ) , and 3 2 3 8 . )

                                                COUNT THREE

            (Receipt of Military-type Training from Hizballah,
              a Designated Foreign Terrorist Organization)

          5.   In or about 2011, in Lebanon and elsewhere, and in an
 offense begun and committed outside of the jurisdiction of any
 particular State or district of the United States, ALI KOURANI,
 a / k / a "Ali Mohamad Kourani," a / k / a "Jacob Lewis," a / k / a "Daniel,"
 the defendant, who is expected to be first arrested in the Southern
 District of New York, knowingly received military-type training
 from and on behalf of Hizballah, which has been designated by the
 Secretary of State as a foreign terrorist organization since 1997,
 pursuant to Section 219 of the INA, and is currently designated as
 such as of the date of the filing of this Complaint, knowing that
 Hizballah was a designated foreign terrorist organization (as
 defined in Title 18, United States Code, Section 2339D(c) (4)),
 that Hizballah engages and has engaged in terrorist activity (as
 defined in section 212 of the INA) , and that Hizballah engages and
 has engaged in terrorism (as defined in section 140(d) (2) of the
 Foreign Relations Authorization Act, Fiscal Years 1988 and 1989),
 to wit, KOURANI received training in the use of weapons and
 military tactics from other members of Hizballah.

      (Title 18, United States Code, Sections 2339D(a), (b)                                    (1),
            (b ) ( 3 ) b ) (4 )
                          I   ( b ) (5 )Ib ) ( 6 ) 3 2 3 8 and 2 . )
                                            (        I   (        I          I




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                                  COUNT FOUR

  tconspiracy to Receive Military-type Training from Hizballah,
           a Designated Foreign Terrorist Organization)

         6.   In or about 2011, in Lebanon and elsewhere, and in an
offense begun and committed outside of the jurisdiction of any
particular State or district of the United States, ALI KOURANI,
a / k / a "Ali Mohamad Kourani," a / k / a "Jacob Lewis," a / k / a "Daniel,"
the defendant, who is expected to be first arrested in the Southern
District of New York, and others known and unknown, knowingly did
combine, conspire, confederate and agree together and with each
other to receive military-type training from and on behalf of
Hizballah, which has been designated by the Secretary of State as
a foreign terrorist organization since 1997, pursuant to Section
219 of the INA, and is currently designated as such as of the date
of the filing of this Complaint.

     7.    It was a part and an object of the conspiracy that ALI
KOURANI, a / k / a "Ali Mohamad Kourani," a / k / a "Jacob Lewis," a / k / a
"Daniel," the defendant, and others known and unknown, would and
did receive military-type training from and on behalf of Hizballah,
knowing that Hizballah was a designated foreign terrorist
organization (as defined in Title 18, United States Code, Section
2339D(c) (4)), that Hizballah engages and has engaged in terrorist
activity (as defined in section 212 of the INA), and that Hizballah
engages and has engaged in terrorism (as defined in section
140(d) (2) of the Foreign Relations Authorization Act, Fiscal Years
1988 and 1989), in violation of Title 18, United States Code,
Section 2339D.

         8.   In furtherance of the conspiracy and to ef feet the
illegal object thereof, ALI KOURANI, a / k / a "Ali Mohamad Kourani , "
a / k l a "Jacob Lewis, " a / k / a "Daniel, " the defendant, and others
known and unknown, committed the overt acts set forth in paragraph
4, supra, which are fully incorporated by reference herein, among
others.

  (Title 18, United States Code, Sections 371, 2339D(a),             (b) (1),
             (b) ( 3 )
                     I b ) (4 )
                         (    I b ) (5 )
                                  (      b ) ( 6 ) and 3 2 3 8 . )
                                           I   (   I




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                                COUNT FIVE

     (Conspiracy to Possess, Carry, and Use Machine Guns and
     Destructive Devices During and in Relation to Crimes of
                            Violence)

     9.   From at least in or about 2002, up to and including in
or about September 2015, in the Southern District of New York,
Lebanon, and elsewhere, and in an offense begun and committed
outside of the jurisdiction of any particular State or district of
the United States, ALI KOURANI, a / k / a "Ali Mohamad Kourani," a / k / a
"Jacob Lewis," a / k / a "Daniel," the defendant, who is expected to
be first arrested in the Southern District of New York, and others
known and unknown, knowingly did combine, conspire, confederate,
and agree together and with each other to violate Title 18, United
States Code, Section 924(c).

     10.    It was a part and an object of the conspiracy that ALI
KOURANI, a / k / a "Ali Mohamad Kourani," a / k / a "Jacob Lewis," a / k / a
"Daniel," the defendant, and others known and unknown, during and
in relation to a crime of violence for which KOURANI may be
prosecuted in a court of the United States, namely, the offenses
charged in Counts One, Two, Three, and Four of this Complaint,
would and did use and carry machine guns and destructive devices,
to wit, firearms that were capable of automatically firing more
than one shot without manual reloading, including an AK-47 assault
rifle, an MP5 submachine gun, and a Russian PKS machine gun, and
destructive devices, including rocket-propelled grenade launchers
("RPGs"), and, in furtherance of such crime of violence, possess
machine guns and destructive devices, in violation of Title 18,
United      States     Code,    Sections    and       924 (c) (1) (A)  and
924(c) (1) (B) (ii).

     (Title 18, United States Code, Sections 924(0) and 3238.)

                                COUNT SIX

     (Making or Receiving a Contribution of Funds, Goods, and
       Services to and from Hizballah, in Violation of the
           International Emergency Economic Powers Act)

     11. From at least in or about 2002, up to and including in
or about September 2015, in the Southern District of New York,
Lebanon, and elsewhere, and in an offense begun and committed
outside of the jurisdiction of any particular State or district of
the United States, ALI KOURANI, a / k / a "Ali Mohamad Kourani," a / k / a
"Jacob Lewis,   a / k / a "Daniel,
               /1
                                   the defendant, a United States
                                   /1




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person, who is expected to be first arrested in the Southern
District of New York, willfully attempted to and did make and
receive a contribution of funds, goods, and services to and for
the benefit of, as well as from, Hizballah, a specially designated
terrorist, in that KOURANI attempted to and did provide to
Hizballah personnel and services.

 (Title 50, United States Code, Section 1705(a); Title 18, United
 States Code, Sections 3238 and 2; and Title 31, Code of Federal
       Regulations, Sections 595.204, 595.205, and 595.311.)

                               COUNT SEVEN

  (Conspiracy to Make or Receive a Contribution of Funds, Goods,
     and Services to and from Hizballah, in Violation of the
           International Emergency Economic Powers Act)

     12. From at least in or about 2002, up to and including in
or about September 2015, in the Southern District of New York,
Lebanon, and elsewhere, and in an offense begun and cornrni tted
outside of the jurisdiction of any particular State or district of
the United States, ALI KOURANI, a / k / a "Ali Mohamad Kourani," a / k / a
"Jacob Lewis," a / k / a "Daniel," the defendant, a United States
person, who is expected to be first arrested in the Southern
District of New York, knowingly and willfully, along with others
known and unknown, did combine, conspire, confederate, and agree
together and with each other to make and receive a contribution of
funds, goods, and services to and for the benefit of, as well as
from, Hizballah, a specially designated terrorist, by agreeing
with others to provide to Hizballah personnel and services, and to
receive funds from Hizballah.

 (Title 50, United States Code, Section 1705(a); Title 18, United
     States Code, Section 3238; and Title 31, Code of Federal
       Regulations, Sections 595.204, 595.205, and 595.311.)

                               COUNT EIGHT

     (Unlawful Procurement of Citizenship or Naturalization to
           Facilitate an Act of International Terrorism)

     13.  In or about 2009, ALI KOURANI, a / k / a "Ali Mohamad
Kourani," a / k / a "Jacob Lewis," a / k / a "Daniel," the defendant, in
the Southern District of New York and elsewhere, knowingly procured
and attempted to procure, contrary to law, the naturalization of
any person to facilitate an act of international terrorism as
defined in Title 18, United States Code, Section 2331, to wit,

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KOURANI submitted a naturali~ation application for himself
containing false statements relating to, among other things, his
membership in and provision of material support and resources to
Hizballah.

  (Title 18, United States Code, Sections 1425(a), 3291, and 2.)

     The bases for my knowledge and the foregoing charges, are, in
part, as follows:

     14. I    have been a    Special Agent at the FBI since
approx imately 2014.   Prior to joining the FBI, I served as a
Special Agent with the U.S. Department of State, Diplomatic
Security Service, for approximately five years.    For the last
approximately two years, I have been assigned to the FBI's New
York Joint Terrorism Task Force ( "JTTF") .    The focus of my
counterterrorism   and   counterintelligence efforts  has  been
investigating and disrupting terrorist activities by Hizballah
and,   in particular,   Hizballah's Islamic Jihad Organization
("IJO").

     15. I have learned the facts contained in this Complaint
from, among other sources, my personal participation in this and
related investigations, my discussions with other law enforcement
personnel, searches in which I have participated, surveillance in
which I have participated, and my review of documents and other
materials.   Because this Complaint is being submitted for the
limited purpose of establishing probable cause, it does not include
every fact that I have learned during the course of this
investigation.     Further,  any statements related herein are
described in substance and in part only.

                              INTRODUCTION

       16. The FBI's investigation revealed that ALI KOURANI, a / k / a
"Ali Mohamad Kourani," a / k / a "Jacob Lewis," a / k / a "Daniel," the
defendant,    was a member of the IJO,            which is a highly
compartmentalized component of Hizballah responsible for the
planning,     preparation,     and    execution     of    intelligence,
counterintelligence, and terrorist activities outside of Lebanon.
Beginning in approximately 2000, KOURANI obtained training from
Hizballah and the IJO in tradecraft, weapons, and military tactics.
KOURANI later identified himself to the FBI as an IJO "sleeper"
operative working undercover in the United States.          Principally
responsible    for   conducting    IJO    intelligence-gathering    and
surveillance activities, KOURANI received taskings in Lebanon and
e x ecuted his missions covertly.      For example, KOURANI gathered

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intelligence and conducted surveillance of U.S. military and
intelligence outposts in New York City, as well as airports in New
York City and elsewhere, in support of anticipated IJO terrorist
attacks.

     HIZBALLAH, AL MANAR, AND THE ISLAMIC JIHAD ORGANIZATION

     17. Based on my training and experience, my participation in
this and related investigations, and my review of publicly
available documents, reports, and other materials, I understand
the following, in substance and in part:

           a.   Hizballah  is   a   Lebanon-based   Shia  Islamic
organization with political, social, and terrorist components.
Hizballah was founded in the early 1980s with support from Iran
after the 1982 Israeli invasion of Lebanon, and its mission
includes establishing a fundamentalist Islamic state in Lebanon.
In 1997, the U.S. Department of State designated Hizballah a
Foreign Terrorist Organization, pursuant to Section 219 of the
INA, and it remains so designated today.     In 2001, pursuant to
Ex ecutive Order 13,224, the U.S. Department of the Treasury
designated Hizballah a Specially Designated Global Terrorist
entity.   In 2010, State Department officials described Hizballah
as the most technically capable terrorist group in the world, and
a continued security threat to the United States.

          b.   Al Manar is a media organization controlled by the
Iran-funded Hizballah terrorist network.       Al Manar employs
Hizballah personnel, supports fundraising and recruitment for
Hizballah, and at least one Al Manar employee engaged in
operational surveillance activities on behalf of Hizballah under
cover of employment by Al Manar.   In 2006, pursuant to Executive
Order 13,224, the U.S. Department of the Treasury designated Al
Manar a Specially Designated Global Terrorist entity.

          c.   The IJO, which is also known as the External
Security Organization and "910,      is a component of Hizballah
                                        11



responsible for the planning and coordination of intelligence,
counterintelligence,   and terrorist activities on behalf of
Hizballah outside of Lebanon.       IJO operatives are typically
assigned a Lebanon-based "handler,     sometimes referred to as a
                                             11



mentor, responsible for providing taskings, debriefing operatives,
and arranging training. IJO often conducts targeted operations in
stages, sending waves of one or more operatives with separate
taskings such as surveillance, obtaining and storing necessary
components and equipment, and attack execution.


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          d.   Since Hizballah's formation, the organization has
been responsible for numerous terrorist attacks that have killed
hundreds, including the 1983 bombing of the United States Marine
barracks in Lebanon, which killed 241 Marines; the 1983 bombing of
the United States Embassy in Beirut, which killed 24 people; the
1985 hijacking of TWA Flight 847, which killed one U.S. citizen;
the 1992 bombing of the Israeli Embassy in Argentina, which killed
29 people; and the 1994 bombing of a Jewish cultural center in
Buenos Aires, which killed 95 people.

          e.   In July and August 2006, Hizballah and Israel
engaged in armed conflict (the "2006 Lebanon War"), resulting in
numerous casualties, after an incident on or about July 12, 2006
when Hizballah attacked Israeli Defense Force ("IDF") personnel.
A ceasefire brokered by the United Nations went into effect on
August 14, 2006.

           f.    In January 2012, Hussein Atris, an IJO operative
with dual Lebanese-Swedish citizenship, was detained in Thailand
as he tried to board a flight at a Bangkok airport.          Atris
subsequently led law enforcement personnel to a commercial
building near Bangkok that housed a cache of nearly 10,000 pounds
of urea-based fertilizer and 10 gallons of ammonium nitrate, which
are chemicals that I know, based on my training and experience,
can be used to construct explosives.     The ammonium nitrate was
stored in First Aid ice packs manufactured by aGuangzhou, China-
bas ed company ( "Guangzhou Company-1" )

          g.   In July 2012, Mouhamad Hassan Mouhamad El Husseini,
an IJO operative with dual Lebanese-French citizenship, detonated
explosives on a bus transporting Israeli tourists in the vicinity
of an airport in Burgas, Bulgaria. Six people were killed and 32
others were injured. Law enforcement authorities recovered three
fraudulent, purportedly U.S.-based, driver's licenses during the
investigation, subsequently linked the attack to the IJO, and
determined that ammonium nitrate was an active ingredient in the
explosives.

          h.   Also in July 2012, Hossam Taleb Yaacoub, an IJO
operative with dual Lebanese-Swedish citizenship, was arrested
after conducting surveillance of Israeli tourists in the vicinity
of an airport in Larnaca, Cyprus.    Law enforcement authorities
seized from Yaacoub a notebook containing coded entries relating
to, among other things, Israeli tour buss es.     In March 2 013,
Yaacoub was convicted of crimes in Cyprus relating to these
activities on behalf of the IJO.


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          i.   In May 2015, Hussein Bassam Abdallah, an IJO
operative with dual Lebanese-Canadian citizenship, was arrested in
Cyprus after Cypriot authorities seized from an apartment rented
by Abdallah approximately 8.2 tons of ammonium nitrate, at least
some of which was stored in First Aid ice packs manufactured by
Guangzhou Company-1, the manufacturer of the First Aid ice packs
seized in Thailand in January 2012.   See paragraph 17(f), supra.
Abdallah possessed a copy of a fraudulent passport at the time of
his arrest, and he was subsequently convicted of crimes in Cyprus
relating to these activities on behalf of the IJO.

                             THE DEFENDANT

     18. Based on my review of documents and information
maintained by federal and state authorities in the United States,
I am aware of the following:

          a.   ALI KOURANI, a / k / a "Ali Mohamad Kourani,   a/k/a
                                                                  /1



"Jacob Lewis,   a / k l a "Daniel,
               /1
                                    the defendant, was born in the
                                   /1



vicinity of Bint Jbeil, Lebanon in 1984.

          b.   In 2003, KOURANI lawfully entered the United States
using a Lebanese passport. In the United States, KOURANI obtained
a Bachelor of Science in biomedical engineering in 2009, and a
Masters of Business Administration in 2013.

          c.   In April 2009, KOURANI became a naturalized citizen
of the United States, see paragraph 20(c), infra.

          d.   KOURANI's U.S. and Lebanese passports reflect,
among other things, travel to Lebanon at least approximately once
annually between 2005 and 2015, and to Guangzhou, China in May
2009.




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           THE DEFENDANT'S RECRUITMENT AND TRAINING BY
                      HIZBALLAH AND THE IJO

     19. Based on my participation in interviews of ALI KOURANI,
a/k/a "Ali Mohamad Kourani," a/k/a "Jacob Lewis," a/k/a "Daniel,"
the defendant, as well as my review of reports relating to
interviews of KOURANI, 1 I know that KOURANI provided the following
information to law enforcement, in substance and in part:

          a.   KOURANI considers his family name to be akin to the
"Bin Ladens of Lebanon," and one of his brothers is the "face of
Hizballah" in Yatar, Lebanon.

          b.   In approximately 2000, three years before entering
the United States, see paragraph 18(b), supra, KOURANI attended a
45-day Hizballah "boot camp" in Lebanon. KOURANI was approximately
16 years old at the time, and he was permitted to attend because
of his family's connections to a high-ranking Hizballah official
named Haider Kourani. During the training, KOURANI was taught to
fire AK-47 assault rifles and rocket launchers, as well as basic
military tactics, by Hizballah personnel wearing uniforms.

          c.   KOURANI was in Southern Lebanon during the 2006
Lebanon War, see paragraph 17(e), supra, and his family's home was
destroyed by an Israeli bombing during the conflict. KOURANI fled
the area with relatives, and he returned to the United States via
Syria.

          d.   In approximately 2008, KOURANI was recruited by
Sheikh Hussein Kourani in Lebanon to Join the IJO. KOURANI
considered the IJO to be responsible for "black ops" on behalf of
Hizballah and "the Iranians." By the time KOURANI joined the IJO,
he understood that Hassan Nasrallah, the Secretary-General of

1 ALI KOURANI, a/k/a "Ali Mohamad Kourani," a/k/a "Jacob Lewis,"
a/k/a "Daniel," the defendant, made statements to the FBI during
multiple voluntary interviews in 2016 and 2017. The interviews in
2016 were conducted in a non-custodial setting.   Five interviews
were conducted in 2017 after an attorney representing KOURANI
contacted the FBI and explained, in substance and in part, that
KOURANI wished to provide information to the FBI in the hope of
obtaining financial support and immigration benefits for certain
of his relatives. No promises were made to KOURANI regarding such
benefits, and the five interviews in 2017 were conducted in the
attorney's presence, at the attorney's office, in a non-custodial
setting.

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Hizballah, operated the IJO and reported directly to Ali Khamenei,
the Supreme Leader of Iran.

          e.   KOURANI believes that he was recruited to join the
IJO in light of his education and residence in the United States,
and in connection with efforts by the IJO to develop "sleepers"
who maintained ostensibly normal lives but could be activated and
tasked with conducting IJO operations.

          f.   Following KOURANI's initial recruitment by the IJO,
KOURANI participated in a series of interviews in Lebanon with IJO
personnel during which he was asked about his background, religious
practices, and travel history, as well as provided with training
on   topics   such   as   conducting   interrogations,    resisting
interrogations, and surveillance techniques.

          g.   KOURANI was subsequently driven, while wearing a
blacked-out motorcycle helmet, to a meeting with the man who acted
as his IJO handler, whom KOURANI knew as "Fadi" and "Hajj"
("Fadi").  Fadi typically wore a mask during their meetings, and
explained to KOURANI early in their relationship that the "golden
rule" of the IJO was that "the less you know the better it is."
Fadi acted as KOURANI's IJO handler until approximately September
2015, when KOURANI claims that he (KOURANI) was deactivated by the
IJO.

          h.   One of Fadi's first instructions to KOURANI, who
was a lawful permanent resident at the time, was to obtain United
States citizenship and a U.S. passport as soon as possible.

          i.   Fadi later instructed KOURANI to obtain a U.S.
passport card that could be used to re-enter the United States if
his U.S.    passport was   seized outside the United States.
Specifically, Fadi told KOURANI that he could use his Lebanese
passport to fly to Mexico or Canada, and then enter the United
States at a land border using the U.S. passport card.

           J.  KOURANI used at least two email addresses ("Kourani
Email-1" and "Kourani Email-2") to communicate with IJO personnel
abroad regarding his status and activities.

     20. Based on my review of documents and information
maintained by federal and state authorities in the United States,
I am aware of the following:




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          a.   ALI KOURANI, a / k / a "Ali Mohamad Kourani," a / k / a
"Jacob Lewis," a / k / a "Daniel," the defendant, departed Lebanon,
via Beirut-Rafic Hariri International Airport, in approximately
late-January 2008.

          b.    In approximately August 2008, KOURANI submitted an
application for     naturalization in the United States       (the
"Naturalization    Application") .   KOURANI   certified  on   the
Naturalization Application, under penalty of perjury, that the
information provided was true and correct.   In the Naturalization
Application,  KOURANI made the following declarations,       among
others:

             i.     He had never "been a member of or in any way
associated (either directly or indirectly) with . . . [a] terrorist
organization."

            ii.     He had never "given false or misleading
information to any U.S. government official while applying for any
immigration benefit         "

           111.     He had never "lied to any U.S. government
official to gain entry or admission into the United States."

          c.   On or about April 15, 2009, the Naturalization
Application was approved, and KOURANI became a naturalized citizen
of the United States. 2

          d.   On or about April 15, 2009, KOURANI submitted an
application for a U.S. passport, attaching the naturalization
certificate that he was issued on the same day.    In the passport
application, KOURANI claimed, under penalty of perjury, that he
had "no plans yet" with respect to foreign travel.

          e.   On or about April 22,        2009,   KOURANI was issued a
U.S. passport.

           f.  On April 30, 2009, KOURANI was issued a visa to
enter China that was valid until October 30, 2009.

2  The Naturalization Application was processed, in part, at a
Manhattan office of the U.S. Citizenship and Immigration Services.
ALI KOURANI, a / k / a "Ali Mohamad Kourani," a / k / a "Jacob Lewis,"
a / k / a "Daniel," the defendant, admitted to the FBI in 2017 that he
understood that the Naturalization Application would be processed,
at least in part, in the Southern District of New York.

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          g.   On or about May 3, 2009, KOURANI entered China at
an airport in Guangzhou, the location of Guangzhou Company-1, i.e.,
the manufacturer of the ammonium nitrate-based First Aid ice packs
seized in connection with thwarted IJO attacks in Thailand and
Cyprus, see paragraphs 17(f) and 17(i), supra.

          h.   In approximately April 2013, KOURANI obtained a
U.S. passport card by relying on his naturalization certificate as
an identification document.

     21.  Based on my review of documents and information relating
to Kourani Email-1, which were produced by an Internet services
provider, I am aware of the following:

          a.    In approximately late-January 2008, just days after
ALI KOURANI, a / k / a "Ali Mohamad Kourani," a / k / a "Jacob Lewis,"
a/k/a   "Daniel,"     the defendant,  left Lebanon following his
recruitment by the IJO, see paragraphs 19 (d) and 20 (a) supra,
KOURANI conducted a series of Internet searches relating to the
2006 Lebanon War, including the terms "vinograd report" and
"lebanon second war."      Based on publicly available reporting, I
know that Judge Eliyahu Winograd led the Commission to Investigate
the Lebanon Campaign in 2006, i.e., the 2006 Lebanon War, which
issued interim and final reports relating to the conflict.

          b.   Beginning in approximately May 2008,       KOURANI
conducted Internet searches and visited websites relating to Al
Manar, the Specially Designated Global Terrorist entity that acts
as a propaganda arm of Hizballah, see paragraph 17(b), supra.
KOURANI conducted similar searches relating to Al Manar in
approximately October 2012 and approximately March 2015.

          c.   Beginning on or about April 29, 2009, just one day
before KOURANI obtained a visa to enter China, see paragraph 2 0 ( f) ,
supra, he conducted Internet searches relating to the city of
Guangzhou, China.

          d.    In approximately January 2013, KOURANI conducted an
Internet search, in Arabic, and visited a website relating to Rabee
Fares.   The website KOURANI visited contains multiple images of
Fares posing with weapons and military gear, and indicates that
Fares was a member of Hizballah who was killed while fighting in




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Syria approximately two days before KOURANI's Internet search. 3

          e.   In approximately January 2013, KOURANI conducted an
Internet search, in Arabic, for the phrase "if Hizballah was
defeated," and visited a website with a Hizballah propaganda video
produced by Al Manar featuring, among other things, a statement
from Hizballah Secretary-General Nasrallah .

          f.   In approximately March 2013, KOURANI conducted an
Internet search, in Arabic, relating to IJO operative Hossam Taleb
Yaacoub, who was arrested in Cyprus in July 2012 based on his
surveillance of Israeli targets in Cyprus, see paragraph 17(h),
supra.

          g.   In approx imately January 2014, KOURANI conducted an
Internet search, in Arabic, and a visited website relating to
prayers for victory over "the enemy."

           h.  In approximately March 2015, KOURANI conducted an
Internet search, in Arabic, for the phrase "martyr leader Khattar
Abdullah."    Based on publicly available reporting,      Khattar
Abdullah was a Hizballah commander born near the same city in
Lebanon as KOURANI, Bint Jbeil, and Abdullah was killed during
battle in Syria in approximately March 2015.

                     THE DEFENDANT'S USE OF IJO
                COMMUNICATIONS SECURITY AND TRADECRAFT

         22. Based on my participation in interviews of ALI KOURANI,
a / k / a "Ali Mohamad Kourani," a / k / a "Jacob Lewis," a / k / a "Daniel,"
the defendant, as well as my review of reports relating to
interviews of KOURANI, I know that KOURANI provided the following
information to law enforcement, in substance and in part:

          a.   KOURANI was instructed by IJO personnel abroad to
use digital storage media, such as USB drives and memory cards, to
transport pictures and data back to Lebanon relating to his
external operations.

          b.   In order to establish contact with Fadi when
KOURANI returned to Lebanon, KOURANI would call a telephone number
associated with a pager (the "IJO Pager") and provide a code that
he understood was specific to him.   After KOURANI called the IJO

3 All translations set forth herein are preliminary and in draft
form.

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Pager, Fadi would contact KOURANI to set up an in-person meeting
by calling a phone belonging to one of KOURANI's relatives.

          c.   KOURANI and Fadi used code during operational
communications when KOURANI was outside of Lebanon.   Initially ,
the code involved Fadi using marriage-related code, such as
"bride," to signal to KOURANI that he should return to Lebanon.
After KOURANI married, Fadi communicated similar recall messages
using coded ref er enc es to a "job" or "employment prospect i n
                                                           11


Lebanon.

          d.    KOURANI also provided Fadi with the name of a
particular childhood friend of KOURANI, and Fadi established one
or more email accounts using that name for purposes of operational
communications while KOURANI was outside of Lebanon.       KOURANI
deleted electronic communications from Fadi immediately after
reviewing them.

          e.    In approximately 2011 or 2012, Fadi instructed
KOURANI not to use existing operational email accounts or the IJO
Pager, as the IJO assessed that these communications selectors had
been compromised.     KOURANI and Fadi did not use email to
communicate regarding IJO operations after approximately 201 2 .

     23. Based on my review of documents and information relat i ng
to Kourani Email-1 and Kourani Email-2 as well as other email
accounts, which were produced by Internet service providers, I am
aware of the following:

             a.    The email contacts stored in Kourani Email -2
contained two email addresses ("Fadi Email-1" and "Fadi Email- 2 ")
with usernames that are similar to the name of the childhood friend
that ALI KOURANI, a / k / a "Ali Mohamad Kourani," a / k / a "Jacob Lewis,
                                                                         11


a / k / a "Daniel," the defendant, identified to Fadi, see paragraph
22(d), supra.




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          b.   The contact for Fadi Email-1 was first saved in the
account associated with Kourani Email-2 in approx imately March
2008, and the contact entry relating to Fadi Email-1 was last
modified on or about July 1, 2012.

          c.   Fadi Email-2 was created on or about October 15,
2011, and the user of the account indicated that he or she was
based in Lebanon. The contact for Fadi Email-2 was first saved in
the account associated with Kourani Email- 2 on or about October
19, 2011.  Like Fadi Email - 1, the contact entry relating to Fadi
Email-2 was last modified on or about July 1, 2012.

          d.   Consistent with    Fadi' s instruction   that   IJO
operational email accounts had been compromised in approximately
2011 or 2012, see paragraph 22(e), supra, there was no message
content stored in Kourani Email-2, Fadi Email-1, or Fadi Emai l-2 ,
as of approx imately May 2017.

     24. Based on my review of documents and information
maintained by federal and state authorities in the United States ,
I know that, on or about September 18, 2015, ALI KOURANI, a / k / a
"Ali Mohamad Kourani," a / k / a "Jacob Lewis," a / k / a "Daniel," the
defendant, departed Beirut, Lebanon, and entered the United States
at John F. Kennedy International Airport ("JFK") .            During a
secondary inspection, law enforcement personnel determined that
KOURANI's cellphone did not contain a memory card, but found a
memory card secreted under a travel sticker affixed to KOURANI's
U.S. passport.   The personnel conducting the inspection did not
search the contents of the SIM card.

          THE DEFENDANT ' S ADDITIONAL IJO MILITARY TRAINING

         25. Based on my participation in interviews of ALI KOURANI ,
a / k / a "Ali Mohamad Kourani," a / k / a "Jacob Lewis," a / k / a "Daniel,"
the defendant, as well as my review of reports relating t o
interviews of KOURANI, I know that KOURANI provided the following
information to law enforcement, in substance and in part:

          a.   In approximately July 2011, KOURANI attended an IJO
military training camp, located in the vicinity of Birkat Jabrur,
Lebanon, where he was provided with military-tactics and weapons
training.

          b.    In order to get to the training camp, KOURANI was
picked up by an unknown driver, in a van with blacked-out windows,
in the vicinity of Nabatieh, Lebanon.     KOURANI was provided with
a black, balaclava - style mask, which he put on and then got in the

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back of the     van   with   approximately    five   or   six   other   IJO
operatives.

          c.   A total of between approximately 20 and 25 IJO
operatives attended the military training at Birkat Jabrur, which
lasted for approximately two days and two nights.

          d.   During the training, KOURANI used---and fired---
several weapons.   When interviewed by the FBI in 2017, KOURANI
identified, through counsel, photographs of several of the weapons
that he discharged during the 2011 IJO training, including an RPG,
an AK-47 assault rifle, an MP5 submachine gun, a PKS machine gun
(a Russian-made belt-fed weapon), and a Glock pistol.      KOURANI
knew that several of the weapons he used during the training
(including the MP5, PKS, and AK-47) could be fired in "automatic"
mode; he was taught that these firearms could be discharged more
accurately in semi-automatic mode, and his IJO trainers were
unhappy when KOURANI fired in automatic mode during the training. 4

    THE DEFENDANT'S INTELLIGENCE-GATHERING ACTIVITIES IN THE
               UNITED STATES ON BEHALF OF THE IJO

     26. Based on my participation in interviews of ALI KOURANI,
a/k/a "Ali Mohamad Kourani," a/k/a "Jacob Lewis," a/k/a "Daniel,"
the defendant, as well as my review of reports relating to
interviews of KOURANI, I know that KOURANI provided the following
information to law enforcement, in substance and in part:

          a.    Fadi directed KOURANI to surveil and collect
information regarding military and intelligence targets in the New
York City area.    In response to this tasking, KOURANI conducted
physical surveillance of the following targets:        ( i) a u. S.
government facility, which includes FBI offices, in Manhattan, New
York; (ii) an U.S. Army National Guard facility in Manhattan, New
York; (iii) a U.S. Secret Service facility in Brooklyn, New York;
and (iv) a U.S. Army Armory facility in Manhattan, New York ("U.S.
Armory-1").   KOURANI used his phone to videotape activity around
at least one of these surveillance targets, transferred the video
footage to a memory card, and brought the memory card to Fadi and
other IJO personnel in Lebanon. KOURANI also used the Internet to
obtain images of at least one of these surveillance targets, and

4 Based on my conversations with another agent who has expertise
in firearms, as well as my training and experience, I understand
that the AK-47 assault rifle, MP5 submachine gun, and PKS machine
gun are each firearms capable of firing more than one round through
a single function of the trigger without manual reloading.
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he provided the images to Fadi and other IJO personnel in Lebanon.

          b.   When interviewed by the FBI in 2017, KOURANI
identified, through counsel, photographs of the above-referenced
four locations in New York City where he conducted surveillance
for the IJO.

           c.  Fadi directed KOURANI to surveil and collect
information regarding airports, including the layout of terminals,
the locations of cameras and personnel, and other security
features. 5 In response, KOURANI provided detailed information to
Fadi regarding specific security protocols; baggage-screening and
collection practices; and the locations of surveillance cameras,
security personnel, law enforcement officers, and magnetometers at
JFK and an international airport in another country.

          d.   Fadi directed KOURANI to cultivate contacts in the
New York City area who could provide firearms for use in potential
future IJO operations in the United States.   KOURANI brought Fadi
a list of individuals he believed could supply firearms, but Fadi
rejected the candidates as unreliable.

          e.   Fadi directed KOURANI to identify and collect
intelligence regarding individuals in the United States affiliated
with the IDF. KOURANI believed that the IJO gave him this tasking
to facilitate, among other things, assassinations of IDF personnel
in retaliation for the 2008 assassination of Imad Mughniyah, the
former leader of the IJO.   KOURANI used a social media account to
identify IDF members or associates in the New York City area, and
he described his search methodology to Fadi.

           f.    Consistent with    the  fraudulent identification
documents seized during the investigation of IJO activities in
Bulgaria and Cyprus, see paragraphs 17(g} and 17(i}, supra, Fadi
asked KOURANI if KOURANI could obtain employment at a Department
of Motor Vehicles office in order to facilitate efforts by the IJO
to   obtain   fraudulent   identification documents   for  use  in
operations.    KOURANI told Fadi he could not do so because he
believed that it would draw too much attention if someone with his
educational background applied for such a clerical position.

          g.    Fadi directed KOURANI    to obtain           surveillance
equipment in   the United States, including drones,          night-vision

5 Based on my training and experience, I understand that a standard
tasking to many IJO operatives is to surveil and collect
information regarding airports.
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goggles,  and high-powered cameras,     so that the underlying
technology could be studied and replicated by the IJO.

     27. Based on my review of documents and information relating
to Kourani Email-1, which were produced by an Internet service
provider, I am aware of the following:

          a.   In approximately April 2011, ALI KOURANI, a / k / a
"Ali Mohamad Kourani," a / k / a "Jacob Lewis," a / k / a "Daniel," the
defendant, viewed a series of Google Maps related to LaGuardia
Airport in Queens, New York, some of which were zoomed in on the
locations of terminals.

          b.   In approximately April 2 012, KOURANI conducted a
series of Internet searches, and viewed images, relating to sniper
rifles.

          c.   In approximately May 2012, KOURANI visited the
website of a company that sells weapons (including firearms), body
armor, uniforms, and tactical gear.

          d.   In approximately February 2013, KOURANI used Google
Maps to view an image of, among other things, a U.S. Armed Forces
Career Center in Queens, New York.

          e.    In approximately February 2014, KOURANI visited a
website with information relating to manufacturing, repairing, and
operating drones.




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          f.   In approximately April 2014, KOURANI conducted an
Internet search and visited a website relating to U.S. Armory- 1,
i.e., one of the locations that KOURANI told the FBI in 2 017 that
he surveilled, see paragraph 26(a), supra.

     WHEREFORE, the deponent respectfully requests that a warrant
be issued and that ALI KOURANI, a / k / a "Ali Mohamad Kourani," a / k / a
"Jacob Lewis," a / k / a "Daniel," the defendant, be arrested and
imprisoned, or bailed, as the case may


                                         JOSE
                                         Special Agent, FBI


Sworn to before me this
31st Day of May, 2017



HONOR~~g~R
Unit e d S ~ at e s Magist r ate Judge
South ern Dis t rict of NE:w York




                                          21
